
PER CURIAM.
This is a companion case to Linder v. State, 493 So.2d 1091, decided this date.
Appellant Chester S. Anderson was found guilty of being involved in a drug transaction with Linder and Julie Ann Archie. As was Linder, Anderson was convicted specifically of attempted trafficking in cannabis in an amount in excess of 100 pounds.
We have carefully scrutinized the record regarding the weight of the contraband and find the state failed to prove beyond a reasonable doubt that the weight of the contraband exceeded 100 pounds, excluding wrappings and other non-contraband material. Thus, the evidence does not support the conviction of attempted trafficking in cannabis in an amount in excess of 100 pounds, but less than 2000 pounds, in violation of section 893.135(4), Florida Statutes. However, the evidence does support the lesser included offense of attempted possession of cannabis in an amount less than 100 pounds but over 20 grams.
We have considered Anderson’s other points and hold that none demonstrates reversible error.
Accordingly, the judgment and sentence appealed from are affirmed in all respects except the conviction and sentence for conspiracy to traffic in cannabis in an amount in excess of 100 pounds but less than 2000 pounds in violation of section 893.135(4), Florida Statutes, are reversed and the cause is remanded with directions to enter judgment of conviction on the lesser included offense of attempted possession of cannabis in an amount less than 100 pounds but over 20 grams and resentence appellant.
AFFIRMED IN PART; REVERSED IN PART; and remanded with directions.
DOWNEY, LETTS and STONE, JJ., concur.
